        Case 4:17-cr-00158-DPM Document 69 Filed 03/24/21 Page 1 of 2



              IN THE UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF ARKANSAS
                      CENTRAL DIVISION

UNITED STATES OF AMERICA                                       PLAINTIFF

v.                        No. 4:17-cr-158-DPM

TRAVIS WILLIAMS                                             DEFENDANT
Reg. No. 31451-009

                                 ORDER
       Williams moves for immediate release under 18 U.S.C.
§   3582(c)(l)(A)(i) based on the risk that the ongoing COVID-19
pandemic presents to his health. He says he's asked the Bureau of
Prisons to submit a compassionate release motion on his behalf.
Doc. 64-1 at 1. The United States questions whether he's fully exhausted
his administrative rights to appeal. Doc. 67 at 4.
       It's unnecessary to get clarity on the exhaustion issues, though,
because even if Williams has exhausted his administrative remedies,
his motion fails on the merits. Williams is a black man in his mid-
thirties. He's overweight and has high blood pressure. His concerns
about the virus are therefore valid. But the Bureau of Prisons has begun
vaccinating staff and inmates. FCI Bastrop has fully vaccinated almost
400 inmates and staff and currently has only seven positive cases.
https://www.bop.gov/ coronavirus (accessed 16 March 2021).              The
Court is therefore hopeful that the risk that COVID-19 presents to
Williams and other prisoners at Bastrop is declining. Further, Williams
        Case 4:17-cr-00158-DPM Document 69 Filed 03/24/21 Page 2 of 2



has served less than half of his 42-month sentence, which was a
downward variance from his advisory Guidelines range. Reducing his
sentence by another nineteen months would not promote respect for the
law, provide just punishment, reflect the seriousness of his offense, or
adequately deter him and others.       All material things considered, the
statute's remedy-reducing Williams's sentence to time served-is not
appropriate in this case. 18 U.S.C. §§ 3582(c)(l)(A)(i) & 3553(a). His motion,
Doc. 61, is therefore denied.
      So Ordered.


                                           D .P. Marshall Jr.
                                           United States District Judge




                                     -2-
